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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                      :       Crim, No.: 08-327 (SRC)

       v.                                     :       Hon. Stanley R. ChesLer

MARTIN TACCETTA                               :       ORDER



       \Vriiien pretrial motions having come beibre the Court on the motion of defendant Martin

Taccetta (Maria DelGaizo Noto. Esq.. appearing), the United States. by Paul J. Fishman. United

States Attorney for the District of New Jersey (Bohdan Vitvitsky, Assistant U.S. Attorney,

appearing) having fIled a written response thereto, and oral argument on the motions having been

heard on May 18, 2010; and

       The Court having considered the written submissions as well as oral arguments;

       For the reasons set forth on the record at oral argument:



       IT IS on this          day of May, 2010, hereby ORDERED that:

       1.     Defendant’s motion for Federal Rule of Evidence 404(b) evidence is denied as

              moot;

      2.      Defendant’s motion for Federal Rule of Criminal Procedure 16 discovery is

              denied as moot;

      3.      Defendant’s motion fhr a bill of particulars is denied as set forth on the record:

      4.      Defendant’s motion for severance is denied as moot;

      5.      Defendant’s motion seeking a list of the Government’s witnesses is denied as set
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            forth on the record; Defendant’s motion for so-called Giglio material is denied as

            moot insofar as the Government has volunteered to produce any Giglio material

            three days prior to a witness’s testifying;

      6.    Defendant’s motion seeking to have Government agents preserve rough notes of

            interviews is granted:

      7.    Defendant’s motion seeking Brady material is moot as the Government

            acknowledges awareness of its ongoing responsibility promptly to produce any

            such material;

      8.    I)efendant’s motion seeking to have the confidential inforrnants identity revealed

            is denied as moot insofar as the Government has made that revelation:

     9.     I)efendant’s motion seeking permission to make a suppression motion is denied

            insofar as there are no statements to suppress;

      10.   Defendant’s motion for a Miranda hearing on any custodial statements is denied

            as moot;

     11.    Defendant’s motion for a Wade hearing on any out-of-court identifications is

            denied as moot;

     12.    I)cfendant’s motion to join the motions of other defendants is denied as moot;

     13.    Defendant’s motion for leave to file additional pretrial motions is denied; this

            denial does not. however, apply to trial briefs that counsel may wish to file.




                                                  I1ESIER
                                                  United States District Judge
